         Case 9:20-cv-00042-DLC Document 7 Filed 05/15/20 Page 1 of 2
                                                                          FILED
                  IN THE UNITED STATES DISTRICT COURT                       MAY 15 2020
                      FOR THE DISTRICT OF MONTANA                         Clerk, U.S. District Court
                                                                             District Of Montana
                           MISSOULA DIVISION                                       Mk,&oula



 ERIC MELSON, individually and on                     CV 20-42- M-DLC
 behalf of all others similarly situated,

                       Plaintiff,
                                                            ORDER
 vs.

 FCA USLLC,

                       Defendant.

       Defendant FCA US LLC moves for the admission of Stephen A. D' Aunoy

to practice before this Court in this case with Christy S. McCann and Leo S. Ward

of Browning, Kaleczyc, Berry & Hoven, P.C., to act as local counsel. The

application appears to be in order.

       Accordingly, IT IS ORDERED that the Unopposed Motion for Admission

Pro Hae Vice of Stephen A. D' Aunoy (Doc. 6) is GRANTED on the condition that

Mr. D 'Aunoy does his own work. This means that he must: (I) do his own

writing; (2) sign his own pleadings, motions, and briefs; and (3) appear and

participate personally. Counsel shall take steps to register in the Court's electronic

filing system (CM-ECF). Further information is available on the Court's website,

www.mtd.uscourts.gov, or from the Clerk's Office.

       IT IS FURTHER ORDERED that this Order is subject to withdrawal unless
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Mr. D'Aunoy within fifteen (15) days of this Order, files a separate pleading

acknowledging his admission under the terms set forth above.

      Dated this l.5._~ay of May, 2020.




                                             Dana L. Christensen, District Judge
                                             United States District Court
